
PER CURIAM.
After hearing the arguments and carefully considering the facts in this case the court has come to the conclusion that the judgment of the Board of Governors of the Florida Bar imposed upon the respondent, Louis T. Ransom, is too harsh and the penalty is therefore reduced to, and fixed at, suspension from the practice of law in Florida for a period of six months computed from 16 April 1958.
It is ordered that on 16 October 1958 the respondent be reinstated as a member of the Bar provided he shall have, meanwhile, paid the costs, hereby assessed against him, in the sum of $227.54.
TERRELL, C. J., and THOMAS, ROBERTS, DREW and THORNAL, JJ., concur.
